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                                 EXHIBIT 1: Berg v. Hickson

                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CIVIL DIVISION

ALYSSA BERG                                    :     Case Number: 2021 CA 001977 V
                                               :
v.                                             :     Judge: Shana Frost Matini
                                               :
EVERETT HICKSON                                :

                                               ORDER

       Before the Court is Defendant’s Motion to Dismiss and/or for Summary Judgment (“Mot.”)

and Memorandum in Support (“Memo.”), filed July 20, 2021. Plaintiff filed her Opposition to

Defendant’s Motion (“Opp.”) on July 29, 2021. Defendant was permitted to file a Reply to

Plaintiff’s Opposition by Superior Court Civil Rule 12-I(g), but none was filed and the time to do so

has passed. After reviewing the parties’ briefs, the applicable law, and the record in this case, the

Court denies Defendant’s motion.

                                             Background

       This case arises out of a vehicle accident. See Compl. ¶ 8. Plaintiff alleges that on April 5,

2018, she was struck by Defendant’s vehicle while riding her bicycle in the intersection of 11 th

Street SE and G Street SE in the District of Columbia. See Compl. ¶¶ 6-8. Plaintiff filed the instant

action om June 11, 2021, alleging that the Defendant was negligent in her operation of her vehicle.

See generally Compl. Defendant now moves to dismiss, claiming that Plaintiff’s negligence claim is

barred by the applicable statute of limitations. See generally Mot.

                                                   Analysis

       “At the Rule 12 (b)(6) stage, a court should not dismiss on statute of limitations grounds

unless the claim is time-barred on the face of the complaint.” Logan v. Lasalle Bank Nat'l Ass'n, 80

A.3d 1014, 1020 (D.C. 2013). The statute of limitations for negligence actions in the District of

Columbia is three years. See D.C. Code § 12-301(a)(8). Defendant asserts that Plaintiff had until
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April 5, 2021 to file her personal injury lawsuit, and failed to do so until after the statute of

limitations had expired. See Memo. at 3.

       Due to the COVID-19 public health emergency, on March 18, 2020, the Chief Judge of the

Superior Court for the District of Columbia ordered “all deadlines and time limits in statutes, court

rules, and standing and other orders issued by the court . . . suspended, tolled, and extended during

the period of the [COVID-19] emergency,” including statutes of limitations. Chief Judge Order

(Mar. 18, 2020) at 2. This tolling period was extended by subsequent Orders issued by the Chief

Judge on March 19, 2020, May 14, 2020, June 19, 2020, August 13, 2020, and November 5, 2020.

See Chief Judge Order (Jan. 13, 2021) at 1. Then on January 13, 2021, the Chief Judge issued an

amended order stating “[s]uspension, tolling, and extension will continue to the extent specified in

this Order until at least March 31, 2021.” Id.

       On January 21, 2021, the Honorable Anthony Epstein issued an Amended Addendum to the

General Order Concerning Civil Cases, which states in relevant part that “[i]f no exception in the

January 13 order or in the Chief Judge’s prior orders applies, the date on which the period of tolling

ends is currently March 31, 2021…” Amended Addendum to the General Order Concerning Civil

Cases (Jan. 21, 2021) at 2. The Addendum also stated that “[i]f an event before the start of the

tolling period triggered a deadline that falls within the tolling period, the number of days remaining

before the original deadline on March 18 are added to the end of the tolling period.” Id. On March

30, 2021, the Chief Judge Ordered that “[u]nless otherwise ordered by the Court, no deadlines and

time limits in statutes (including statute of limitations), court rules, and standing and other orders

issued by the Court are suspended, tolled or extended during the period of emergency…” Chief

Judge Order (Mar. 30, 2021) at 3.




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        Here, Defendant argues that because the event triggering the statute of limitations was the

April 5, 2018 accident, resulting in the April 5, 2021 statute of limitations deadline falling outside

the Court’s March 18, 2020 through March 30, 2021 tolling period, the tolling period does not apply

to the present case. Memo. at 4. In support of her assertion, Defendant cites to the language in Judge

Epstein’s Addendum which specifies that “the number of days remaining before the original

deadline on March 18 are added to the end of the tolling period” for “a deadline that falls within the

tolling period[.]” Id. (citing to Amended Addendum to the General Order Concerning Civil Cases

(Jan. 21, 2021) at 2 (emphasis in Memo.)).

        The Court does not agree with the Defendant’s interpretation and finds that the tolling

period should apply to the statute of limitations in the instant action. Defendant argues that the

Court did not intend to forever alter all statutes of limitations in civil cases through its

administrative orders; however, the Court did mean to toll all statutes of limitations from March 18,

2020 through March 30, 2021. See Memo. at 4; Chief Judge Order (Mar. 30, 2021). “The term

‘tolling’ means that, ‘during the relevant period, the statute of limitations ceases to run.’”

Christensen v. Philip Morris USA, Inc., 162 Md. App. 616, 639 n.9 (2005) (quoting Chardon v.

Fumero Soto, 462 U.S. 650, 652 n.1 (1983)). Accordingly, the statute of limitations as to Plaintiff’s

claim in the instant case was paused during the tolling period, meaning that the proper deadline for

Plaintiff to bring her claim can be found by adding the 388 days between March 18, 2020 and

March 30, 2021 to the Plaintiff’s original deadline of April 5, 2021. See Addendum to the General

Order Concerning Civil Cases (Jan. 21, 2021) at 2.

        Here, the language cited by the Defendant from the Addendum is not an exclusive list of the

applications of the tolling period, rather just one example. There is also no language in the Chief

Judge’s Order which indicates that the tolling period does not apply to deadlines that occurred after



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March 30, 2021. See generally Chief Judge Order (Mar. 30, 2021). The intent here was clearly that

tolling meant tolling—that the statute of limitations temporarily ceased to run, and began again once

the tolling period was lifted. To find otherwise would result in a clear injustice as any litigant whose

claim arose on April 1, 2018, for example, would be extremely prejudiced and unlikely to file suit

under Defendant’s interpretation, while a litigant whose claim arose on March 29, 2018 would have

until April 2022 to file suit. See Opp. at 2. Moreover, a litigant would have the right to rely on the

Chief Judge’s assurance that the Court would “provide at least 60 days’ notice before ending all

suspension, tolling, and extension of deadlines.” Chief Judge Order at 1 (Jan. 13, 2021).

       For these reasons, the Court finds that Plaintiff’s complaint was timely filed. Accordingly, it

is this 19th day of August 2021, hereby:

       ORDERED that Defendant’s Motion to Dismiss and/or for Summary Judgment is

DENIED.

       SO ORDERED.



                                               Judge Shana Frost Matini
                                               Superior Court of the District of Columbia


Copies electronically served upon all counsel of record




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